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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)
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  In re:
                                                              Chapter 11
  LTL MANAGEMENT, LLC,
                                                              Case No.: 21-30589(MBK)
                                     Debtor.
                                                              Honorable Michael B. Kaplan




    APPLICATION FOR AN ORDER FOR ADMISSION PRO HAC VICE OF KAMI E. QUINN

           Pursuant to Rule 101.1 of the Local Civil Rules for the United States District Court for the

 District of New Jersey and Rule 9010-1 of the Local Rules of the United States Bankruptcy Court,

 District of New Jersey, the undersigned counsel hereby seeks entry of an order granting the admission pro

 hac vice of Kami E. Quinn of the law firm Gilbert LLP to represent the Official Committee of Talc

 Claimants I in the above-captioned case. In support of this application, counsel submits the attached

 Certification of Kami E. Quinn, Esq. and requests that the proposed form of order submitted herewith be

 entered. Counsel certifies that he is admitted is admitted, practicing, and a member in good standing with

 the Bar of the State of New Jersey.


 Date: March 28, 2022                               Respectfully Submitted,


                                                    _/s/ Daniel M. Stolz______________
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